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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


Civil Action No. 22-cv-00926-GPG
(The above civil action number must appear on all future papers
 sent to the court in this action. Failure to include this number
 may result in a delay in the consideration of your claims.)

TIFFANY GRAYS,

        Plaintiff,

v.

RICO MUNN,
ELIZABETH FRANCIS,
MICHAEL W. SCHREINER,
CARI ROBERTS,
ZACHERY SAMPLES,
DAVID WALLER,
NICHOLAS KLOBERDANZ,
GREGORY CAZZELL,
UNKNOWN APS SECURITY OFFICER,
BRANDON EYRE,
UNKNOWN APS CO-CONSPIRATORS,
THE CITY OF AURORA,

        Defendants.


                ORDER DIRECTING PLAINTIFF TO CURE DEFICIENCIES


        Plaintiff has submitted to the court pro se a Complaint for a Civil Case (ECF No.

1).1 As part of the court’s review pursuant to D.C.COLO.LCivR 8.1(a), the court has

determined the document is deficient as described in this order. Plaintiff will be

directed to cure the following if she wishes to pursue any claims in this action. Any



1
  “(ECF No. 1)” is an example of the convention the court uses to identify the docket number assigned to
a specific paper by the court’s case management and electronic filing system (CM/ECF). The court uses
this convention throughout this order.
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papers that Plaintiff files in response to this order must include the civil action number

on this order.

28 U.S.C. § 1915 Motion and Affidavit:
(1)          is not submitted
(2)          is missing affidavit
(3)          is missing certified copy of prisoner’s trust fund statement for the 6-month
             period immediately preceding this filing
(4)          is missing certificate showing current balance in prison account
(5)          is missing required financial information
(6)          is missing authorization to calculate and disburse filing fee payments
(7)          is missing an original signature
(8)          is not on proper form
(9)          names in caption do not match names in caption of complaint, petition or
             habeas application
(10)         other: motion is necessary only if filing and administrative fees totaling
             $402.00 are not paid in advance.

Complaint, Petition or Application:
(11)        is not submitted
(12)        is not on proper form
(13)        is missing page nos.
(15)   X uses et al. instead of listing all parties in caption
(16)   X names in caption do not match names in text
(17)        addresses must be provided for all defendants/respondents in “Section A.
            Parties” of complaint, petition or habeas application
(18)        other:

       Plaintiff is informed that she may choose to contact the Federal Pro Se Clinic at

(303) 380-8786 or https://www.cobar.org/cofederalproseclinic for possible assistance in

this matter. The Federal Pro Se Clinic is located on the first floor of the Alfred A. Arraj

United States Courthouse, 901 19th Street, Denver CO 80294. Accordingly, it is

       ORDERED that Plaintiff cure the deficiencies designated above within thirty

(30) days from the date of this order. Any papers that Plaintiff files in response to

this order must include the civil action number on this order. It is
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       FURTHER ORDERED that Plaintiff shall obtain the court-approved forms, along

with the applicable instructions, at www.cod.uscourts.gov. It is

       FURTHER ORDERED that, if Plaintiff fails to cure all of the designated

deficiencies within thirty (30) days from the date of this order, the action will be

dismissed without further notice. The dismissal shall be without prejudice.

       DATED April 19, 2022.

                                                 BY THE COURT:

                                                  s/ Gordon P. Gallagher
                                                 United States Magistrate Judge




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